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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                HELENA DIVISION

JEFF WOMACK                                                                      PLAINTIFF

                                    2:17-CV-00205-BRW

ST FRANCIS COUNTY, ARKANSAS                                                    DEFENDANT

                                          ORDER

       Defendant’s Motion for Reconsideration (Doc. No. 35) is DENIED.

       Defendant asserts that I was unaware that Ms. Womack – whose affidavit was considered

when denying summary judgment – was Plaintiff’s wife. However, I assumed she was his wife

when I reviewed the motions and supporting documents. The other issues raised are irrelevant

for the purpose of summary judgment.

       IT IS SO ORDERED this 29th day of November, 2018.


                                                  /s/ Billy Roy Wilson _______________
                                                    UNITED STATES DISTRICT JUDGE
